Case 2:04-cr-20507-.]PI\/| Document 27 Filed 06/24/05 Page 1 of 3 Page|D 45

IN THE UNITED sTATEs DISTRICT coURT x=u.z':.»._- %
FOR THE wEsTERN DIsTRIcT oF TENNESSEE iq ,
wEsTERN DIvIsION 95 gmqu ‘H‘H\¢_ big

 

 

UNITED S'I`A'I'ES OF AMERICA
Plaintiff,

V .

!4%@7§&¢”’ Aénéé{fan

criminal NO. 0_<£-20;0] Ml

(30-Day Continuance)

 

 

 

 

VVVV\_/`_~VVVV~_/~_/VVVVVV\_¢`_,

Defendant(s).

 

CONSENT ORDER ON CRIMINAL CASE CONTINUANCE
AND EXCLUSION OF TIME

 

As indicated by the signatures below, the United States,
through its Assistant United States Attorney, and counsel for the
defendant(s) have agreed that, for good cause, this case should be
continued for reasons resulting in the exclusion of time under the
Speedy Trial Act. The case is currently set on the July, 2005,
criminal rotation calendar, but is now RESET for report at QLQQ
a.m. on Friday, JulV 22, 2005, With trial to take place on the
August, 2005 rotation calendar with the time excluded under the
Speedy Trial Act through August 12, 2005. Agreed in open court at

report date this 24ch day of June,

   
 

This document entered on the docket sheet n
with F|ufe 55 and/or 32(b) FRCrP on

 

Case 2:04-cr-20507-.]PI\/| Document 27 Filed 06/24/05 Page 2 of 3 Page|D 46

so oRDERED this 24th day of June, 2005.

w mw

 

JON PHIPPS MCCALLA
UN ED STATES DISTRICT JUDGE

 

M,,§V

Assistant United States Attorney

§MM@¢/

 

 

 

 

Counsel for Defendant(s)

 
 

UNITED sTATE DRISTIC COURT - WESTERN D's'TRCT oFTENNESSEE

   

Notice of Distribution

This notice confirms a copy of the document docketed as number 27 in
case 2:04-CR-20507 Was distributed by faX, mail, or direct printing on
June 27, 2005 to the parties listed.

 

 

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Honorable .1 on McCalla
US DISTRICT COURT

